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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 DEFINITION SERVICES INC., a British                 )
 Virgin Islands corporation,                         )
                                                     )
                         Plaintiff,                  )
                                                     )    C.A. No. 21-741-LPS
          v.                                         )
                                                     )
 GVA CAPITAL LTD., a Cayman Islands                  )
 exempted company,                                   )
                                                     )
                        Defendant.                   )

            PLAINTIFF’S RULE 7.1 CORPORATE DISCLOSURE STATEMENT

         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Definition Services

Inc. (“Definition”) states the following:

         Definition is a wholly-owned subsidiary of Sprain Capital Ltd. (a Cayman entity) and no

publicly held corporation owns 10% or more of its stock.

                                                    RICHARDS, LAYTON & FINGER, P.A.

                                                    /s/ Brock E. Czeschin
                                                    Brock E. Czeschin (Bar No. 3938)
                                                    Christian Roberts (Bar No. 6694)
                                                    920 North King Street
                                                    Wilmington, Delaware 19801
                                                    (302) 651-7700
                                                    czeschin@rlf.com
                                                    croberts@rlf.com

                                                    Attorneys for Plaintiff
 Dated: June 4, 2021                                Definition Services, Inc.




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